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Robert L. Wirtz, Jr.

1228278 David L. Moss CJC
300 N. Denver

Tulsa, OK 74103

February 1, 2017

Sheriff, Vic Regalado
300 N. Denver
Tulsa, OK 74103
RE: DELIBERATE INDIFFERENCE TO SERIOUS
Tulsa Board of MEDICAL NEED
County Commissioners
500 N. Denver
Tulsa, OK 74103

Dear Sheriff Regalado and Board:

I am writing to you at this time to inform you of the deliberate indifference to my serious
medical need that continues to inflict cruel and unusual punishment upon me here at Tulsa
County Jail (David L. Moss CJC). This letter is an effort independent of my tort claim notice -
filed two days ago - that addresses my fall from the top bunk and subsequent injury, pain and
suffering’. Upon the date of my arrest on October 29, 2016, I had spinal stenosis at T-12 due to a
wedge compression fracture. As a result of the chronic pain, I had been on Fentanyl, 100
microgram patches for about 8 years.

Upon my initial examination, I advised the nursing staff of this fact and was initially told
that they did not have this medication on the formulary. Instead, they prescribed Tylenol 3 for
about 6 weeks. Thereafter, I suffered extreme withdrawal and debilitating pain. Initially, I saw a
doctor in November who advised me that he would make a request to depart from the formulary
and prescribe the fentanyl patches. Unfortunately, that doctor left and a new medical provider
“Turnkey” has contracted with a doctor “Cooper” who, as a rule, advised me that he simply does
not treat pain with narcotic pain medications”. Instead, he goes against the advice of neurologists
and pain specialists that have treated me for years and, for the last two months, he has treated
me with extremely large doses of anti-seizure medications.

Even during my last stay at Hillcrest due to the fall from the bunk — December 22 — 30,
2016 - the doctors treated the pain with IV diladud, 1 mg every 3 hours and 100 mic. Fentanyl
patches, which they directed me to “continue” for pain management. They also ordered that I
follow up with specialists in chronic pain and back surgery. Neither the pain medications nor

' That claim is one where I was medically restricted to a “bottom bunk “ but improperly placed on a top bunk by jail
staff, resulting in my fall and injury on December 22, 2017. It is relevant here that, although the Doctors at Hillcrest
recommended that I see a specialist for follow up care and pain management over a month ago, I still have not seen
any such specialists and continue to suffer excruciating and debilitating pain.

? This is in fact Turnkey’s across the board policy. When they took over at the jail, they discontinued all narcotic
pain medications for nearly all prisoners.
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follow up care have been provided. Additionally, Dr. Cooper has patently failed to comply with
state and federal laws in regard to pain control. These laws include but are not limited to:

Okla. Admin. Code 435:10-7-11

435:10-7-11. Use of controlled substances for the management of chronic pain
The Board has recognized that principles of quality medical practice dictate that the
people of the State of Oklahoma have access to appropriate and effective pain
relief and has adopted the following criteria when evaluating the physician's
treatment of pain, including the use of controlled substances:

(1) Evaluation of the patient. A medical history and physical examination must be
obtained, evaluated and documented in the medical record. The medical record
should document the nature and intensity of the pain, current and past treatments for
pain, underlying or coexisting diseases or conditions, the effect of the pain on
physical and psychological function and history of substance abuse. The medical
record also should document the presence of one or more recognized medical
indications for the use of a controlled substance.

(2) Treatment plan. The written treatment plan should state objectives that will be
used to determine treatment success, such as pain relief and improved physical and
psychosocial function, and should indicate if any further diagnostic evaluations or
other treatments are planned. After treatment begins, the physician should adjust
drug therapy to the individual medical needs of each patient. Other treatment
modalities or a rehabilitation program may be necessary depending on the etiology
of the pain and the extent to which the pain is associated with physical and
psychosocial impairment.

Doctor Cooper has not done an evaluation or a written treatment plan that comports to the
requirements of this Code.

63 OKLSt.Ann. § 2-55. Appropriate pain management--high dosages of controlled
dangerous drugs

A. Schedule II, III, IV and V controlled dangerous drugs have useful and legitimate
medical and scientific purposes and are necessary to maintain the health and general
welfare of the people of this state.

B. The State of Oklahoma recognizes that principles of quality medical practice
dictate that the people of the State of Oklahoma have access to appropriate and
effective pain relief. The appropriate application of up-to-date knowledge and
treatment modalities can serve to improve the quality of life for those patients who
suffer from pain as well as to reduce the morbidity, and costs associated with untreated
or inappropriately treated pain. The State of Oklahoma encourages physicians to view
effective pain management as a part of quality medical practice for all patients with
pain, acute or chronic.

This statute speaks for itself. Doctor Cooper has not recognized the fact that the law of
this State recognizes that controlled dangerous drugs have useful and legitimate medical and
scientific purposes and are necessary to maintain the health and general welfare of the people of
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this state and has refused to provide me with appropriate and effective pain relief. Instead, he
has knowingly left me in excruciating pain (a constant level of 9 to ten at time out of ten).

In Estate of Crowell ex rel. Boen v. Board of County Com'rs of County of Cleveland ,237
P.3d 134 2010 OK 5 (OK 2010), the Supreme court of Oklahoma recognized that a jail doctor’s
deliberate indifference to a prisoner’s chronic pain indeed states a claim for cruel and unusual
punishment, stating that:

“With respect to the first element, where a prisoner establishes the existence of a
serious medical need, a prisoner satisfies the objective requirement for proving an
Eighth Amendment violation. Farmer, 511 U.S. at 834, 114 S.Ct. 1970. A medical
need is considered serious “if the failure to treat the prisoner's condition could result
in further significant injury or the ‘unnecessary and wanton infliction of pain.’ ”
McGuckin, 974 F.2d at 1059 (quoting Estelle, 429 U.S. at 104, 97 S.Ct. 285). The
standard for an Eighth Amendment violation contemplates “a condition of urgency”
that may result in “degeneration” or “extreme pain.” Chance y. Armstrong, 143
F.3d_698, 702 (2d Cir.1998) (quoting Hathaway v. Coughlin, 37 F.3d 63, 66 (2d
Cir.1994), cert. den., 513 U.S. 1154, 115 S.Ct. 1108, 130 L.Ed.2d 1074 (1995)); see
also Harrison v. Barkley, 219 F.3d 132, 136-37 (2d Cir.2000) ( “A serious medical
condition exists where ‘the failure to treat a prisoner's condition could result in
further significant injury or the unnecessary and wanton infliction of pain.’ ”)
(quoting Chance, 143 F.3d at 702).

14 { 28 Relevant factors for determining whether a serious medical need exists
include “[t]he existence of an injury that a reasonable doctor or patient would find
important and worthy of comment or treatment’; the presence of a medical condition
that significantly affects an individual's daily activities; or the existence of chronic
and substantial pain.” Chance, 143 F.3d at 702 (quoting McGuckin v. Smith, 974

F.2d at 1059-60 (9th Cir.1992), (Emphasis added).

In my case, this continued deliberate indifference has resulted in both degeneration - a
worsening of the injury - and the unnecessary and wanton infliction of pain. (None of my other
doctors have ever left me in such pain). In the last three months, I have notified the nursing
staff and Doctor here that I have had degeneration in the loss of bladder and bowel control from
the debilitating pain but they have ignored this fact. The pain becomes so debilitating and
spasms so severe that it causes me to have tingling in my legs and feet, numbness from my groin
to me feet and, when it progresses to its worst, I suffer incontinence. It is nearly impossible to
walk at times without pain and it only grows worse without proper care.

Many years ago, I had to file claims against the old Sheriff, including Wirtz v. Glanz,
1996 OK CIV APP 125, 932 P.2d 540°. Which I ultimately refilled and settled in Federal Court.

‘ Significantly, every other Doctor that has treated me for this chronic pain has prescribed Fentanyl or equivalent

(or even stronger IV pain medications, such as morphine and Diladud) pain medications. Doctor Cooper is the only
Doctor to not do so.

* As a side note, the holding in my opinion was overruled by the Supreme Court of Oklahoma in Court Pellegrino v.
State ex rel. Cameron University ex rel. Board of Regents of State 63 P.3d 535 (OK 2003)

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If you look on OSCN “Wirtz v. Glanz, you will find numerous Mandamus cases that I won or
settled against the Sheriff. You may also find my resume on Morelaw.com and look at the
Youtube video “Robert Wirtz Interview”. Each of these disclose that I do know how to seek and
obtain relief. I pray that you will remedy this and that I will not need to do so.

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Robert Wirtz, Jr.

10228278 David Moss CJC
300 N. Denver

Tulsa, OK 74103

February 21, 2017

Oklahoma State Medical Board
101 NE 51" Street
Oklahoma City, OK 73105

Turn Key ] Health Corp.
19 NE 50" Street
Oklahoma City, OK 73105

I am writing to you at this time to both document and seek relief for the numerous state
and federal law violations that are currently ongoing at the Tulsa County Jail (David Moss
Criminal Justice Center) on behalf of the medical provider, Turn Key Health and its’ employees,
Dr. William Cooper, Health Services Administrator, Tama Hill and Records Custodian, Kathy
Pingleton.

The incidents giving rise this ever-broadening matter began upon my incarceration at the
Tulsa County Jail on October 29th of last year. I have a T-12 wedge compression fracture from
a 3 story fall in 1991. I was placed in a cast then and it fused well. I was perfectly fine for over
a decade but later developed spinal stenosis in 2006. Since that time, I have been to numerous
specialists and was faced with either risking a surgery or dealing with it through chronic pain
management and physical therapy. I opted for the second and have been on Fentanyl, 100 mic.
Patches for the last 9 years. With these, the pain level is tolerable and my standard of living is
acceptable. Also, with the pain manageable, I can perform the physical therapy that also helps
manage the symptoms. Dr. Cooper outright refuses to provide this pain regimen. Instead, he opts
to “experiment” with other medications. Since being in their care, I have been hospitalized three
times from the pain and injury and my symptoms worsen, including numbness in my legs and
feet, burning in the same, tingling, and, at times, incontinence and loss of bladder control.

When I consulted counsel and began asking for proper care, I also asked for access to my
medical records. Upon being given access to my medical records, they refused to provide access
to records from Hillcrest Hospital, including my last release instructions, prescriptions, and
treatment plan. (This included their recommendation for a follow up with a pain specialist and
back surgeon, as the doctor at Hillcrest showed me the records before I left the hospital). Mrs.
Pingleton, Records Custodian, advised me that she was directed to withhold those records as
“third party records” by HSA Tamara Hill. And when I asked where my numerous medical
grievances were’, she advised me that these were not maintained by her office but were given to

' These are detailed grievances where I am explaining my conditions (including incontinence and loss of bladder
control, pain, etc) and citing laws and asking for specific answers. Importantly, none of the dozen medical
grievances are ever answered. The computer “kiosk” system they have here sends grievances to a screening
individual (that is not medical) who then sends it to medical. All of my medical grievances were answered by that
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the sheriff's non-medical personnel department who maintain general grievances. I advised her
that this was a violation of my medical privacy rights.

I write now to both Turn Key Offices and to the Medical Board — as well as Attorney
General and counsel — to ask that these matters be promptly addressed. These include that:

1. Dr. Cooper is not providing adequate pain management in violation of two clear
mandates in Oklahoma that establish the standard of care.’

I. Okla. Admin. Code 435:10-7-11. Use of controlled substances for the management of chronic
pain, in relevant part, states: “The Board has recognized that principles of quality medical
practice dictate that the people of the State of Oklahoma have access to appropriate and effective
pain relief”.

I. and 63 OkLSt.Ann. § 2-551. Appropriate pain management--high dosages of controlled
dangerous drugs , in relevant part, states: “A. Schedule II, III], IV and V controlled dangerous
drugs have useful and legitimate medical and scientific purposes and are necessary to maintain
the health and general welfare of the people of this state. B. The State of Oklahoma recognizes
that principles of quality medical practice dictate that the people of the State of Oklahoma have
access to appropriate and effective pain relief...” (emphasis added).

2. Dr. Cooper’s refusal to provide adequate pain management is cruel and unusual
punishment in violation of the 8" Amendment. His refusal to provide effective pain relief is
‘unnecessary and wanton infliction of pain’ where there is a known “existence of chronic and
substantial pain.” Estate of Crowell ex rel. Boen v. Board of County Com'rs of County of
Cleveland ,237 P.3d 134 2010 OK 5 (OK 2010) @ 153. (Citations omitted).

3. Dr. Cooper has not provided a written treatment plan as mandated by 435:10-7-11 (2).

4. Dr. Cooper is daily committing unprofessional conduct by knowingly failing to treat
in violation of 59 O.S. § 509 (19). “Failure to provide necessary ongoing medical treatment
when a doctor-patient relationship has been established”. It is absolutely necessary that my
chronic pain be treated effectively, which he is refusing to do in a deliberately indifferent and
wanton manner.

person stating that the grievance was “forwarded to medical administration for review”. Ms. Pingleton stated that
she did not maintain that record then but returned it to general grievances with Sheriff jail staff that is non-medical.
This is in double violation of the privacy rights. Medical grievances should go directly to medical and stay there.
Here, they go to non-medical personnel and then are routed to medical, only to be rerouted to non-medical without
ever being answered.

* For the three months he has “treated” me, he has experimented with anti-seizure medications, anti-depressants
(that had not worked years ago as to the antidepressants) and muscle relaxers. None of these have given relief.
And when I showed him these two laws and stated that the recognized standard of care in Oklahoma was that these
medications were “necessary” to have “appropriate and effective pain relief’, he stated that he would absolutely not
prescribe these pain medications, even if the chronic pain management doctors prescribed them — as that would only
be “considered” .

4.
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5. Pursuant to 59 O.S. Section 509 (15), Dr. Cooper may require a mental evaluation. It
appears clear that he has “The inability to practice medicine with reasonable skill and safety to
patients ... ... as a result of any mental or physical condition.” Such an evaluation would delve
into his reasoning for refusing to provide effective pain management in the face of such clear
laws and the standard of care, knowing that I have this legitimate pain and suffer. Is he doing
this sadistically?

6. 22 0.8. § 19, does not limit the records I may access. In relevant part, the law states:
A. 1. Any person who is or has been a patient of a doctor, hospital, or other medical institution
shall be entitled, upon request, to obtain access to the information contained in the patient's
medical records...” There is no limitation on third party records. The statute is clear and
unambiguous. If they are “contained in the patient’s medical record” I am entitled to access.
7@ 220.8. § 20 states: “Any person refusing to furnish records or information required in
Section 3 of this act shall be guilty of a misdemeanor.”

7. Additionally, Okla. Admin. Code 435:10-7-11(6) specifically includes all reports from other
doctors.

(6) Medical records. Records should remain current and be maintained in an accessible
manner, readily available for review. The physician should keep accurate and complete
records to include:

(A) the medical history and physical examination (including vital signs),
(B) diagnostic, therapeutic and laboratory results,

(C) evaluations, consultations and follow-up evaluations,

(D) treatment objectives,

(E) discussion of risks and benefits,

(F) informed consent,

(G) treatments,

(H) medications (including date, type, dosage and quantity prescribed),
(J) instructions and agreements and

(J) periodic reviews.

Thus, the refusal to allow me to access my own records was and remains inappropriate.
See also, 43A- section 1-109(B).

8. Releasing my personal medical grievances to non-medical jail staff is a violation of
my privacy rights under 43A section 1-109: “all communications between a physician or
licensed mental health professional as defined in Section 1-103 of this title, or a licensed alcohol
and drug counselor as defined in Section 1871 of Title 59 of the Oklahoma Statutes, and a
consumer are both privileged and confidential.”

9. Releasing my confidential information is also a violation of my rights under 12 O.S.
Section 2503(B).
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10. Releasing my confidential information is also a violation of HIPPA. 42 USC Section
1320d, subject to the penalties in 42 USC 1320d-6.

My only objective at the outset was to obtain effective pain control. Now I am in this
quagmire. At this time I am asking for your assistance in obtaining effective pain management,
as it appears that I will be here for many more months. I would also like to have my private
information kept that way and to have access to all of my medical records.

I would like to initiate a formal complaint against Dr. cooper and to seek remedy for the
HIPPA and privacy violations, as well as for the refusal to provide me access to my records.
Please advise as to process and procedure. Thank you!

Sincerely,
Robert L. Wirtz, Jr.

cc: counsel

Attorney Gen. US

Attorney Gen. OK
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Robert Wirtz, Jr.

10228278 David Moss CJC
300 N. Denver

Tulsa, OK 74103

February 27, 2017

Turn Key Health Corp.
19 NE 50" Street
Oklahoma City, OK 73105

I am writing this request to the medical department at Tulsa county Jail in conjunction
with my letter of February 21, 2017 in effort to avoid filing independent lawsuits for mandamus
and for criminal penalties for HIPPA, privacy violations, and for refusal to allow me access to all
of my medical records. I must make clear that all I have ever sought is to have adequate pain
control for my chronic pain. This is the last in a long and well-documented list of efforts to have
the relevant laws followed in regard to my medical care and privacy rights. In order to be well-
apprised of this matter, I am asking that the February 21, 2017 — a copy of which is herewith — be
reviewed so that the facts and relevant laws are clearly delineated.

For the sake of clarity, I am enumerating each issue and ask that each be addressed, in
writing. (Significantly, none of my numerous medical requests have ever been answered -
including specific grievances, “sick calls and written letters). Would you please answer, in
writing, the following requests:

1. I am requesting that Dr. Cooper immediately begin to provide adequate and effective
pain relief in conformance with the standard of care as established by Oklahoma Admin. Code
435:10-7-11 and 63 Okl.St.Ann. § 2-551. As the Supreme Court of Oklahoma stated in Lounds
v. State ex rel. Department of Veteran’s Affairs, 255 P.3d 460 @ ¥ 19, citing Morgan v. Gillilean
Health Enterprises, Inc. 1998 OK 130, 977 P.2d 357, 362 and Whitaker v. Hill Nursing Home,
Inc, 2009 OK CIV APP 41, 210 P.3d 877, the standard of care is “shaped and determined” by the
provisions of these laws.

2. I am requesting a copy of Turn Key’s Health Services Manual. Especially, the Urgent
Care Procedures and Chronic Care procedures. I also need to see the approved formulary list of
chronic pain medications allowed by Turn Key.

2. I am requesting access to all of my medical records, including all of my medical
grievances and all of the records from any other hospital or doctor that are in the file. See Okla.
Admin. Code 435:10-7-11(6); 22 O.S. § 19 and 43A O.S. section 1-109(B). If I am not allowed
such access, I will be filing a petition for writ of mandamus for such access and a complaint and

affidavit in support of probable cause with the District Attorney and Attorney General pursuant
to 22 O.S. § 20.
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3. I am requesting that my medical records be kept confidential and that all medical
grievances be placed directly into and kept in my medical file. See 12 O.S. Section 2503(B). and
HIPPA. 42 USC Section 1320d et. Seq..

4. I am requesting a copy of my written treatment plan pursuant to Oklahoma Admin.
Code 435:10-7-11 (2).

Would HSA Tamara Hill or Dr. Cooper or Records Custodian, Mrs. Pingleton, or all of
you jointly, please answer each of these requests in writing before the week’s end. In the spirit
of cooperation, and in effort to obtain relief, I will wait until then before taking any further
action. I thank you in advance for your time and attention to this matter.

Sincerely,
Robert L. Wirtz, Jr.

cc: counsel

Turn Key Health

Tulsa County Board County Comr’s.
Attorney Gen. US

Attorney Gen. OK

Civil rights Division

Department of Health and Human Services
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